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                                Hearing Date: February 28, 2024 at 11:00 a.m. (Prevailing Eastern Time)
                            Objection Deadline: February 21, 2024 at 4:00 p.m. (Prevailing Eastern Time)

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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                     Chapter 11

VENUS LIQUIDATION INC., et al                              Case No. 23-10738 (JPM)

                      Debtors.1
                                                           Jointly Administered



                             NOTICE OF HEARING
    TO CONSIDER DEBTORS’ OMNIBUS MOTION FOR AN ORDER PURSUANT
       TO SECTIONS 105(a), 363(b) AND 363(f) OF THE BANKRUPTCY CODE
    AND BANKRUPTCY RULE 9019 APPROVING SETTLEMENT STIPULATIONS
                         (Via “Zoom for Government”)

                 PLEASE TAKE NOTICE that a hearing (the “Hearing”) will be held on

February 28, 2024 at 11:00 a.m. (ET) (the “Hearing Date”), before the Honorable John P.



1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax
    identification number, are: Venus Liquidation Inc., f/k/a Vice Group Holding Inc. (4250); Vice
    Impact Inc. (9603); Vice Media LLC (5144); Villain LLC (3050); Boy Who Cried Author LLC (6199);
    Carrot Operations LLC (1596); Carrot Creative LLC (8652); Channel 271 Productions LLC (1637);
    Clifford Benski, Inc. (9387); Dana Made LLC (1065); Inverness Collective LLC (6542); JT Leroy
    Holding LLC (7555); PLDM Films LLC (5217); Project Change LLC (2758); R29 Pride, LLC (7011); R29
    Productions, LLC (6344); Refinery 29 Inc. (7749); Valvi LLC (6110); Vice Content Development, LLC
    (5165); Vice Distribution LLC (5515); Vice Europe Holding Limited (N/A); Vice Europe Pulse
    Holding Limited (N/A); Vice Food LLC (1693); Vice Holding Inc. (2658); Vice International Holding,
    Inc. (5669); Vice Music Publishing LLC (3022); Vice Payroll LLC (6626); Vice Productions LLC (5399);
    Vice Project Services LLC (6473); Virtue Worldwide, LLC (7212); Visur LLC (9336); VTV Productions
    LLC (6854); and Goldie Films, Inc. (1241). The location of the Debtors’ service address for purposes of
    these chapter 11 cases is: c/o Alix Partners, 909 Third Avenue, 30th Floor, New York, New York
    10022.
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Mastando III, United States Bankruptcy Judge for the Southern District of New York, to

consider the annexed motion (the “Motion”)2 of Venus Liquidation Inc. f/k/a/ Vice

Group Holding, Inc. and its affiliated debtors and debtors in possession (collectively the

“Debtors” or the “Company”) for entry of an order, substantially in the form annexed to

the Motion as Exhibit A (the “Proposed Order”), pursuant to sections 105(a), 363(b),

and 363(f) of title 11 of the United States Code and Rule 9019 of the Federal Rules of

Bankruptcy Procedure, approving settlement stipulations.

               PLEASE TAKE FURTHER NOTICE THAT the Hearing will take place

via Zoom for Government. Those wishing to appear before the Court at the Hearing,

must register their appearance utilizing the Electronic Appearance portal located on the

Court's website: https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl.

Appearances must be entered no later than 4:00 p.m. (Prevailing Eastern Time) one

business day before the hearing.

               PLEASE TAKE FURTHER NOTICE that objections, if any, to entry of the

Proposed Order or the relief requested in the Motion must be made in writing, filed

with the Bankruptcy Court, One Bowling Green, New York, NY 10004-1408, and served

so as to be received by the following parties no later than February 21, 2024, at 4:00 p.m.

(Prevailing Eastern Time) (the “Objection Deadline”):

              (i)    the Honorable John P. Mastando III, United States Bankruptcy
Judge for the Southern District of New York, United States Bankruptcy Court for the
Southern District of New York One Bowling Green, Courtroom 501, New York, NY
10004-1408;
             (ii)  counsel for the Debtors, Togut, Segal & Segal LLP, One Penn Plaza,
Suite 3335, New York, NY 10119, Attn: Frank A. Oswald, Esq.
(frankoswald@teamtogut.com) and Brian F. Moore (bmoore@teamtogut.com);


2      Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the
       Motion.



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             (iii) co-counsel for the Debtors, Shearman & Sterling LLP, 599
Lexington Avenue, New York, NY 10022, Attn.: Fredric Sosnick. Esq.
(FSosnick@Shearman.com) and Shearman & Sterling LLP, 2601 Olive Street, 17th Floor,
Dallas, TX 75201, Attn.: Ian E. Roberts, Esq. (Ian.Roberts@Shearman.com);
             (iv) the Office of the United States Trustee for the Southern District of
New York, One Bowling Green, Suite 534, New York, NY 10004, Attn: Andrea B.
Schwartz, Esq. (Andrea.B.Schwartz@usdoj.gov) and Annie Wells, Esq.
(Annie.Wells@usdoj.gov); and
            (v)    counsel to the Committee, Pachulski, Stang, Ziehl & Jones LLP, 780
Third Avenue, 34th Floor, New York, New York 10017 (Attn: Bradford J. Sandler).

               PLEASE TAKE FURTHER NOTICE THAT if no objections to the entry of

the Proposed Order are timely filed and served on or before the Objection Deadline, the

Proposed Order may be entered by the Court.


               PLEASE TAKE FURTHER NOTICE that a copy of the Proposed Order and

the Motion along with its other underlying exhibits can be viewed and/or obtained by:

(i) accessing the Court’s website a www.nysb.uscourts.gov, (ii) on the Debtors’ case

website at: https://cases.stretto.com/vice, or (iii) by contacting the Office of the Clerk of

the United States Bankruptcy Court, Southern District of New York. Please note that a

PACER password is required to access documents on the Bankruptcy Court’s Website.

Dated: New York, New York
      January 30, 2024

                                          VENUS LIQUIDATION INC., et al.
                                          Debtors and Debtors-in-Possession
                                          By Their Counsel
                                          TOGUT, SEGAL & SEGAL LLP
                                          By:

                                          /s/ Frank A. Oswald
                                          FRANK A. OSWALD
                                          KYLE J. ORTIZ
                                          BRIAN F. MOORE
                                          JOHN C. GALLEGO
                                          One Penn Plaza, Suite 3335
                                          New York, New York 10119
                                          Telephone: (212) 594-5000



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                                   Hearing Date: February 28, 2024 at 11:00 a.m. (Prevailing Eastern Time)
                               Objection Deadline: February 21, 2024 at 4:00 p.m. (Prevailing Eastern time)

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    Frank A. Oswald
    Kyle J. Ortiz
    Brian F. Moore
    John C. Gallego

    Counsel for Debtors and Debtors in Possession

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

     In re:                                                       Chapter 11

     VENUS LIQUIDATION INC., et al.,                              Case No. 23-10738 (JPM)

                                       Debtors.1                  (Jointly Administered)


          DEBTORS’ OMNIBUS MOTION FOR AN ORDER PURSUANT
       TO SECTIONS 105(a), 363(b) AND 363(f) OF THE BANKRUPTCY CODE
     AND BANKRUPTCY RULE 9019 APPROVING SETTLEMENT STIPULATIONS

TO THE HONORABLE JOHN P. MASTANDO III,
UNITED STATES BANKRUPTCY JUDGE:

                   Venus Liquidation Inc. (f/k/a Vice Group Holding, Inc.) and its debtor

affiliates, as debtors and debtors in possession (collectively, the “Debtors”) in the above-

captioned chapter 11 cases (the “Chapter 11 Cases”), hereby make this motion

(the “Motion”) for entry of an order, substantially in the form attached hereto as

Exhibit A (the “Proposed Order”), pursuant to sections 105(a), 363(b), and 363(f) of title


1
       The Debtors in these chapter 11 cases and the last four digits of their respective tax identification
       numbers are: Venus Liquidation Inc. (f/k/a Vice Group Holding Inc.) (4250); Vice Impact Inc. (9603);
       Vice Media LLC (5144); Villain LLC (3050); Boy Who Cried Author LLC (6199); Carrot Operations LLC
       (1596); Carrot Creative LLC (8652); Channel 271 Productions LLC (1637); Clifford Benski, Inc. (9387);
       Dana Made LLC (1065); Inverness Collective LLC (6542); JT Leroy Holding LLC (7555); PLDM Films
       LLC (5217); Project Change LLC (2758); R29 Pride, LLC (7011); R29 Productions, LLC (6344); Refinery
       29 Inc. (7749); Valvi LLC (6110); Vice Content Development, LLC (5165); Vice Distribution LLC (5515);
       Vice Europe Holding Limited (N/A); Vice Europe Pulse Holding Limited (N/A); Vice Food LLC
       (1693); Vice Holding Inc. (2658); Vice International Holding, Inc. (5669); Vice Music Publishing LLC
       (3022); Vice Payroll LLC (6626); Vice Productions LLC (5399); Vice Project Services LLC (6473); Virtue
       Worldwide, LLC (7212); Visur LLC (9336); and VTV Productions LLC (6854). The location of the
       Debtors’ service address for purposes of these chapter 11 cases is: c/o Alix Partners, 909 Third Avenue,
       30th Floor, New York, New York 10022.
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11 of the United States Code (the “Bankruptcy Code”), and Rule 9019 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), approving:

   i. the Stipulation and Agreed Order Resolving Claims Among and Between the Debtors,
      the Buyer Entities, and the Antenna Entities, annexed to the Proposed Order as
      Exhibit 1 (the “Antenna Stipulation”), by and among the Debtors, Vice
      Acquisition Holdco, LLC (the "Buyer," and together with Buyer's direct and
      indirect subsidiaries, the "Buyer Entities"), and Antenna Group B.V., Antenna TV
      S.A., and Antenna Internet Ventures B.V. (collectively, the “Antenna Entities,”)
      and Vice Antenna B.V. (the "Joint Venture", together with the Debtors and Buyer
      Entities, the “Antenna Stipulation Parties”); and

   ii. the Stipulation and Agreed Order Resolving Claims Among and Between the Debtors,
       the Buyer Entities, and the Committee, annexed to the Proposed Order as Exhibit 2
       (the “Committee Stipulation” and together with the Antenna Stipulation,
       the “Stipulations”), by and among the Debtors, the Buyer Entities, and the
       Official Committee of Unsecured Creditors (the “Committee," together with the
       Debtors and Buyer Entities, the “Committee Stipulation Parties” and collectively
       with the Antenna Parties and the Joint Venture, the “Settling Parties”).

       In support of the Motion, the Debtors respectfully submit the Declaration of

Frank A. Pometti, the Debtors’ Chief Restructuring Officer, annexed hereto as Exhibit B

(the “Pometti Declaration”), which is incorporated herein by reference. In further

support of the Motion, the Debtors, by and through their undersigned counsel,

respectfully state:

                               JURISDICTION AND VENUE

               1.      The United States Bankruptcy Court for the Southern District of

New York (the “Court”) has jurisdiction to consider this Motion and the relief requested

herein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference M-431, dated January 31, 2012 (Preska, C.J.) (the “Amended Standing Order”).

Consideration of the Motion is a core proceeding under 28 U.S.C. § 157(b). Venue of

these Chapter 11 Cases and this Motion in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409.




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                  2.      The predicates for the relief requested herein are sections 105(a),

363(b), and 363(f) of the Bankruptcy Code and Bankruptcy Rule 9019.

                                             BACKGROUND

I.        The Chapter 11 Cases

                  3.      On May 15, 2023 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code with this Court.2 On May

17, 2023 and June 13, 2023, the Court entered orders authorizing the joint administration

of the Chapter 11 Cases for procedural purposes only pursuant to Bankruptcy Rule

1015(b) [Docket Nos. 42, 137].

                  4.      The Debtors are managing their post-Sale affairs as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                  5.      On May 23, 2023, the Office of the United States Trustee for the

Southern District of New York (the “U.S. Trustee”) appointed the Committee in the

Chapter 11 Cases [Docket No. 66]. No request for the appointment of a trustee or

examiner has been made in these Chapter 11 Cases.

                  6.      Facts relating to the Debtors’ businesses and capital structure, and

the commencement of these Chapter 11 Cases, are set forth in the Declaration of Frank A.

Pometti in Support of the Debtors’ Chapter 11 Petitions and First Day Relief, filed on the

Petition Date [Docket No. 2] and incorporated herein by reference.

II.       The Sale and the Transition Services Agreement

                  7.      On May 30, 2023, the Court entered the Order (I) Establishing

Bidding, Noticing, and Assumption and Assignment Procedures, (II) Authorizing and



2
      On May 30, 2023, Debtor Goldie Films, Inc. (“Goldie Films”) also filed a voluntary petition for relief
      under chapter 11 of the Bankruptcy Code with this Court. As defined herein, the term “Petition
      Date” includes May 30, 2023 solely as to Goldie Films.


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Approving the Debtors’ Entry into the Stalking Horse Agreement, and (III) Granting Related

Relief [Docket No. 80], which, among other things, authorized the Debtors to commence

a sale process for substantially all the Debtors assets (the “Sale”) based upon an asset

purchase agreement (the “Purchase Agreement”) between the Debtors, as sellers, and

the Buyer.

               8.      On June 23, 2023, the Court entered the Order (A) Approving the

Asset and Equity Purchase Agreement, (B) Authorizing the Sale of Assets, (C) Authorizing the

Assumption and Assignment of Contracts and Leases, And (D) Granting Related Relief

[Docket No. 214], which, among other things, approved the Sale to the Buyer.

               9.      The Debtors closed the Sale on July 31, 2023 [Docket No. 337]

(the “Sale Closing”)

               10.     Upon the Sale Closing, the Debtors ceased business operations and

their focus moved to completing the wind down of their affairs through a chapter 11

liquidating plan.

               11.     On July 31, 2023, the Debtors entered into that certain transition

services agreement (the “TSA”) with the Buyer [Docket No. 337] to effectuate the

smooth transition of the Debtors’ assets and business operations to the Buyer.

III.   The Plan

               12.     On December 15, 2023, the Debtors filed the Chapter 11 Plan of

Liquidation for Venus Liquidation Inc. (f/k/a Vice Group Holding, Inc.) and Certain of its

Affiliates [Docket No. 664] (as may be amended, restated, supplemented or modified

from time to time, the “Plan”).

               13.     The Plan is based on the terms of the settlement (the “Initial

Committee Settlement”) that is incorporated into the Final Order (I) Authorizing the

Debtors to (A) Obtain Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens


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and Super priority Claims, (III) Modifying the Automatic Stay, (IV) Granting Adequate

Protection to Prepetition Secured Parties, and (V) Granting Related Relief [Docket No. 138]

(the “Final DIP Order”), entered on June 13, 2023.

               14.   Pursuant to the Initial Committee Settlement and as provided for in

the Committee Stipulation, the Plan is a liquidating plan that, among other things,

provides for the establishment of a cash reserve to be distributed to the Debtors’ general

unsecured creditors and for the post-confirmation estates to be administered by a plan

administrator. To facilitate confirmation, the Plan also provides for a voluntary

reduction in fees by the Debtors’ retained professionals.

               15.   The feasibility of the Plan is contingent on the Stipulations, which,

as discussed in more detail below, (i) settle disputes that otherwise would require

costly, uncertain and protracted litigation (which the estates cannot afford) and

(ii) return value to the Debtors’ estates.

IV.    The Stipulations

               16.   The Debtors have taken considerable efforts to negotiate the

Stipulations with the Settling Parties.

       A.      The Antenna Stipulation

               17.   The Antenna Stipulation arises out of the series of agreements

between the Debtors and the Antenna Entities entered into prior to the Petition Date

concerning the access to and distribution of the Debtors’ and it non-debtor affiliates

award-winning content in Greece, Romania and Serbia, Hungary, Bulgaria, Czech

Republic, Slovakia, Slovenia, Croatia, Poland, Albania, North Macedonia (FYROM),

Bosnia, Cyprus, Montenegro, the Commonwealth of Independent States (CIS)

(comprising Armenia, Azerbaijan, Belarus, Georgia, Kazakhstan, Kyrgyzstan, Moldova,

Russia, Tajikistan, Turkmenistan, Ukraine and Uzbekistan), Estonia, Latvia and


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Lithuania through the Joint Venture, with Debtor Vice Europe Holding Limited owning

a 51% interest in this joint venture (the “Joint Venture”) and Antenna Internet Ventures

B.V. (“Antenna B.V.”) owning a 49% interest in this Joint Venture.

                18.     In connection with the Sale, the Buyer and/or its designees

acquired certain assets of the Debtors, including interests of the Debtors in certain non-

debtor affiliates, which may be interested parties to claims and interests in connection

with, or arising under, the contracts annexed to the Antenna Stipulation as Exhibit A

and/or the Joint Venture.

                19.     The Debtors, in their business judgment, determined that their

interest in the Joint Venture could be monetized for the benefit of the estates.

                20.     Following good faith negotiations between the Antenna Stipulation

Parties and their respective counsel, and in order to avoid the cost and uncertainty of

investigating and litigating the issues related to potential claims, including potential

intercompany claims arising from the termination of the Antenna Contracts, the wind

down of the Joint Venture, and/or related claims in connection with the Sale and the

TSA, the Antenna Stipulation Parties have agreed to resolve such matters on the terms

set forth in the Antenna Stipulation. The material terms of the Antenna Stipulation are:3

        i.      Upon entry of an order substantially in the form of the Proposed Order
                (the “Antenna Stipulation Effective Date”), the Antenna Contracts,
                annexed to the Antenna Stipulation as Exhibit A, will be deemed rejected
                and terminated as of July 31, 2023. The Antenna Entities and the Joint
                Venture will retain their right to assert general unsecured claims against
                the Debtors in connection with the rejection of the Antenna Contracts
                within thirty (30) days after the Antenna Stipulation Effective Date.

       ii.      Within fifteen (15) business days of the Antenna Stipulation Effective
                Date, Debtor Vice Europe Holding Limited shall convey all of its right,
                title, and interest in the 51% interest in Antenna B.V. to the other Antenna

3
    This summary of the material terms of the Antenna Stipulation is provided for the convenience of the
    Court and parties in interest. In the event of any inconsistency between this summary and the terms
    of the Antenna Stipulation, the terms of the Antenna Stipulation shall control.


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               Entities (the “JV Interest Sale”) and in exchange those Antenna Entities
               shall pay Vice Europe Holding Limited or its designee €937,875
               (the "Antenna Payment").

      iii.     The Antenna Entities and the Joint Venture will assume responsibility for
               the continuation or wind down of the affairs of the Joint Venture.

      iv.      The Debtors will complete the transfer of any foreign equity interests of
               the Debtors and the non-debtor affiliates of the Debtors as contemplated
               by the Sale and the Purchase Agreement, and take all such steps as
               reasonably necessary to accomplish the same (including the appointment
               of directors or managers to implement such corporate action), and
               complete the corporate name changes as required by the Purchase
               Agreement.

       v.      Subject to the Debtors' receipt of the Antenna Payment, on the Antenna
               Stipulation Effective Date, the Antenna Stipulation Parties will exchange
               mutual releases; provided, however, that such release shall not affect the
               obligations of the parties under the Antenna Stipulation.

       B.      The Committee Stipulation

               21.   On September 28, 2023, the Committee filed The Official Committee of

Unsecured Creditors’ Motion to (I) Deny Reimbursement of Certain Fees and Expenses of

Fortress and (II) Compel Disgorgement of an Improper Postpetition Transfer to Fortress

(the “Committee Motion") [Docket No. 507]. Among other things, the Committee

Motion sought to deny the release of funds from a fee reserve that was set aside

pursuant to the Final DIP Order for the reimbursement of Fortress Credit Corp., on

behalf of the ad hoc group of prepetition secured lenders and debtor in possession

lenders, on account of fees and expenses of its financial advisor Houlihan Lokey. The

Committee Motion also sought to compel the disgorgement of a postpetition transfer to

Fortress Credit Corp. on account of Houlihan Lokey’s fees.

               22.   Following good faith negotiations among the Committee

Stipulation Parties and their respective counsel, in connection with the Debtors’

intention to confirm the Plan with the support of the Committee and in order to avoid

the cost and uncertainty of investigating and litigating claims related to the Sale, Final


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DIP Order and the Committee Motion, the Committee Stipulation Parties have agreed

to resolve such matters on the terms set forth in the Committee Stipulation. The

material terms of the Committee Stipulation are:4

        i.      Within two (2) business days of entry of an order substantially in the form
                of the Proposed Order (the “Committee Stipulation Effective Date”) –

                 (a)   the Committee will withdraw the Committee Motion with
                       prejudice;

                 (b)   the Reserved Lender Fee Amount (as defined in the Amendment
                       No. 3 to the Purchase Agreement, dated July 31, 2023 [Docket No.
                       334] shall be paid to the Buyer pursuant to wire instructions
                       provided by the Buyer to the Debtors prior to the Committee
                       Stipulation Effective Date; and

                 (c)   the Debtors shall pay the Buyer $30,000 on account of its allowed
                       administrative expense claim, allowed pursuant to the terms of the
                       Committee Stipulation and pursuant to section 503 of the
                       Bankruptcy Code in connection with its reasonable legal fees
                       incurred during the resolution of claims in connection with
                       Committee Stipulation.

       ii.      The Initial Committee Settlement, including, among other things, the
                reserve established for distribution to holders of allowed general
                unsecured claims, shall be implemented in a Chapter 11 liquidating plan
                in form and substance agreeable to the Committee Stipulation Parties.

                                      RELIEF REQUESTED

                23.    By this Motion, the Debtors seek entry of the Proposed Order,

substantially in the form attached hereto as Exhibit A, pursuant to sections 105(a),

363(b), and 363(f) of the Bankruptcy Code and Bankruptcy Rule 9019 approving the

Stipulations.




4
    This summary of the material terms of the Committee Stipulation is provided for the convenience of
    the Court and parties in interest. In the event of any inconsistency between this summary and the
    terms of the Committee Stipulation, the terms of the Committee Stipulation shall control.


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                                    BASIS FOR RELIEF

I.     The Stipulations Are Fair and Equitable
       and in the Best Interests of the Debtors’ Estates

               24.   This Court has discretion to approve a debtor’s entry into

settlement agreement pursuant to section 363(b) of the Bankruptcy Code after notice

and a hearing. See Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722

F.2d 1063, 1066 (2d Cir. 1983). The procedure for approving a settlement in bankruptcy

is set forth in Bankruptcy Rule 9019(a), which provides that, “[o]n motion by the trustee

and after notice and a hearing, the court may approve a compromise or settlement.”

Fed. R. Bankr. P. 9019(a).

               25.   In addition, section 105(a) of the Bankruptcy Code provides that

“[t]he court may issue any order, process, or judgment that is necessary or appropriate

to carry out the provisions [of the Bankruptcy Code].” 11 U.S.C. § 105(a). The

settlement of disputes is encouraged and generally favored in bankruptcy cases. See

Nellis v. Shugrue, 165 B.R. 115, 123 (S.D.N.Y. 1994); see also In re Hibbard Brown & Co.,

Inc., 217 B.R. 41, 46 (Bankr. S.D.N.Y. 1998) (the bankruptcy court may exercise its

discretion in determining whether to approve a settlement “in light of the general

public policy favoring settlements”).

               26.   Before approving a settlement under Bankruptcy Rule 9019, a court

must determine that the proposed settlement is both (i) fair and equitable, and (ii) in the

best interests of a debtor’s estate. See Motorola, Inc. v. Official Comm. of Unsecured

Creditors (In re Iridium Operating LLC), 478 F.3d 452, 462 (2d Cir. 2007) (applying the “fair

and equitable” standard to settlements pursuant to Bankruptcy Rule 9019); In re Enron

Corp., Case No. 02-Civ-8489 (AKH), 2003 WL 230838, at *2 (S.D.N.Y. Jan. 31, 2003) (“A

bankruptcy court may approve a settlement where the proposed settlement is both fair



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and equitable and in the best interests of the estate.”) (internal quotation marks and

citations omitted).

               27.    To evaluate whether a settlement is fair and equitable, courts in the

Second Circuit consider factors including the following: (a) the balance between the

possibility of success in any litigation and the settlement’s future benefits; (b) the

likelihood of complex and protracted litigation, with its attendant expense,

inconvenience, and delay; (c) the paramount interests of creditors, including the

relative benefits, and the degree to which creditors either do not object to or

affirmatively support the proposed settlement; (d) whether other parties in interest

support the settlement; (e) the competency and experience of counsel supporting the

settlement; and (f) the extent to which the settlement is the product of arm’s-length

bargaining. See Iridium, 478 F.3d at 462. Not all of these factors are relevant to all cases.

See Plaza Equities LLC v. Pauker (In re Copperfield Invs., LLC), 401 B.R. 87, 96 (Bankr.

E.D.N.Y. 2009).

               28.    Although a court should evaluate all factors “relevant to a fair and

full assessment of the wisdom of the proposed compromise,” (Protective Committee for

Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424-25

(1968)), a court need not conduct a “mini-trial” of the merits of the claims being settled

(see In re Purofied Down Prod. Corp., 150 B.R. 519, 522 (S.D.N.Y. 1993)), or conduct a full

independent investigation. See In re Drexel Burnham Lambert Grp., Inc., 134 B.R. 493, 496

(Bankr. S.D.N.Y. 1991). The court is not required to decide every question of law or fact

raised by litigation, but rather should canvass the issues to determine whether the

settlement “falls below the lowest point in the range of reasonableness.” See W.T. Grant

Co. v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir. 1983); In re Adelphia




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Commc'ns Corp., 327 B.R. 143, 159 (Bankr. S.D.N.Y.), adhered to on reconsideration, 327 B.R.

175 (Bankr. S.D.N.Y. 2005).

                29.   The Debtors respectfully submit that the Stipulations satisfy the

standards for approval under Bankruptcy Rule 9019 because the Stipulations are both

fair and equitable and in the best interests of the Debtors’ estates.

                30.   The Stipulations resolve months of arm’s-length and good faith, yet

hard-fought, post-Sale Closing negotiations among the Settling Parties concerning the

claims and disputed issues underlying the Stipulations. The period between the Sale

Closing and the filing of this Motion demonstrates the complexity of the issues that the

Stipulations will consensually resolve and the potential for protracted litigation that

will be avoided. Given the liquidity position of the Debtors’ estates, time is of the

essence to confirm the Plan and any delays or costs associated with the potential

litigation described herein, the results of which are uncertain given the variety of

disputed factual and legal issues, would be significantly detrimental to the Debtors’

stakeholders.

                31.   Moreover, the paramount interests of the Debtors’ creditors are

served by the terms of the Stipulations. Specifically, the Stipulations pave the way for

confirmation of the Plan, which will implement the Initial Committee Settlement to

establish a reserve of funds to be distributed to the Debtors’ general unsecured

creditors. In addition, the Antenna Payment will bring additional funds into the estates

for the benefit of the Debtors’ general unsecured creditors. Absent the Initial

Committee Settlement contemplated by the Plan, conversion to Chapter 7 would have

been unavoidable, which would have destroyed the value otherwise protected under

the Plan and reduced general unsecured creditor recoveries.




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               32.    The Stipulations will also allow the Debtors to fulfill any

outstanding obligations under the Purchase Agreement regarding the transfer of their

foreign equity interests, as well as complete the corporate name changes, which will

eliminate claims under the Purchase Agreement from the Buyer Entities.

               33.    Finally, it is beyond dispute that the Stipulations are the result of,

and are supported by, experienced and competent counsel for each of the Settling

Parties.

               34.    The Debtors considered the foregoing in their business judgment

when determining to enter into the Stipulations. Based on these considerations, the

Debtors respectfully submit that the Stipulations are fair, equitable, in the best interests

of the Debtors’ estates, and well above the lowest point in the range of reasonable

potential outcomes.

II.    The Sale of the Joint Venture Interests Free and Clear
       of Liens, Claims, Encumbrances, and Interests is Justified

               35.    The Antenna Stipulation contemplates that the sale of interests that

constitutes the JV Interest Sale be authorized free and clear any and all liens, claims,

interests, and other encumbrances. Pursuant to section 363(f) of the Bankruptcy Code, a

court may approve the sale of debtor property under section 363(b) of the Bankruptcy

Code free and clear of any interests if one of the following conditions is satisfied:

(i) applicable nonbankruptcy law permits the sale of the property free and clear of such

interest; (ii) the entity holding the lien, claim or interest consents to the sale; (iii) the

interest is a lien and the price at which such property to be sold is greater than the

aggregate value of all liens on the property; (iv) the interest is in bona fide dispute; or

(v) the entity could be compelled, in a legal or equitable proceeding, to accept a money

satisfaction of its interest. See 11 U.S.C. § 363(f); see also In re Smart World Tech., LLC, 423



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F.3d 166, 169 n. 3 (2d Cir. 2005) (“Section 363 permits sales of assets free and clear of

claims and interests. It thus allows Purchaser … to acquire assets [from a debtor]

without any accompanying liabilities.”); In re Dundee Equity Corp., No. 89-B-10233, 1992

WL 53743, at *3 (Bankr. S.D.N.Y. Mar. 6, 1992) (“Section 363(f) is in the disjunctive, such

that the sale free of the interest concerned may occur if any one of the conditions of §

363(f) have been met”).

               36.   Here, the Debtors will be able to satisfy one or more of the

conditions set forth in section 363(f) of the Bankruptcy Code. Specifically, the Buyer

Entities, as the lender parties holding security interests in the Joint Venture have

consented to the JV Interest Sale. In addition, none of the other Settling Parties have

expressed any objection to the Antenna Stipulation despite the opportunity to do so

prior to the filing of this Motion. In re Enron Corp., 2003 WL 21755006, at *2 (Bankr.

S.D.N.Y. 2003) (order deeming all parties who did not object to proposed sale to have

consented under section 363(f)(2)); see also Futuresource LLC v. Reuters Ltd., 312 F.3d 281,

285-86 (7th Cir. 2002) (“It is true that the Bankruptcy Code limits the conditions under

which an interest can be extinguished by a bankruptcy sale, but one of those conditions

is the consent of the interest holder, and lack of objection (provided of course there is

notice) counts as consent. It could not be otherwise; transaction costs would be

prohibitive if everyone who might have an interest in the bankrupt's assets had to

execute a formal consent before they could be sold.”) (internal citations omitted).

Consequently, it is anticipated that section 363(f)(2) of the Bankruptcy Code will be

satisfied prior to entry of the Proposed Order.

               37.   Based on the foregoing, the Debtors respectfully submit that cause

exists for the JV Interest Sale to be approved free and clear of any and all liens, claims,

interests, and other encumbrances


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                              RESERVATION OF RIGHTS

                38.   Nothing contained herein is or should be construed as: (a) an

admission as to the validity of any claim against the Debtors, (b) a waiver of the

Debtors’ rights to dispute the amount of, basis for, or validity of any claim against the

Debtors, (c) a waiver of any claims or causes of action that may exist against any

creditor or interest holder, or (d) a promise to pay any claim, in each case except to the

extent provided for under the Stipulations. If the Court grants the relief sought herein,

any payment made pursuant to the Court’s order is not intended to be and should not

be construed as an admission to the validity of any claim or a waiver of the Debtors’

rights to subsequently dispute such claim, except to the extent provided for under the

Stipulations.

                                          NOTICE

                39.   Notice of this Motion and its exhibits, including the Proposed

Order, has been given to (a) the U.S. Trustee; (b) counsel for the Committee; (c) counsel

for the Buyer Entities; (d) the other entities on the Master Service List (available of the

Debtors’ case website at http://www.cases.stretto.com/vice/); and (d) any other party

which has filed a request for notice in these Chapter 11 Cases. The Debtors submit that

no other or further notice need be provided.

                                  NO PRIOR REQUEST

                40.   No previous request for the relief sought herein has been made to

this Court or any other court.




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                                    CONCLUSION

               WHEREFORE, the Debtors respectfully request entry of the Proposed

Order, substantially in the form attached hereto as Exhibit A, approving the

Stipulations, and grant such other and further relief as may be just and proper.

Dated: January 30, 2024
       New York, New York

                                                VENUS LIQUIDATION INC. (f/k/a)
                                                VICE GROUP HOLDING INC., et al.
                                                Debtors and Debtors in Possession
                                                By their Counsel
                                                TOGUT, SEGAL & SEGAL LLP,
                                                By:

                                                /s/ Frank A. Oswald
                                                FRANK A. OSWALD
                                                KYLE J. ORTIZ
                                                BRIAN F. MOORE
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                                                Telephone: (212) 594-5000
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                                                bmoore@teamtogut.com
                                                jgallego@teamtogut.com




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                                    Exhibit A

                                 Proposed Order
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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

    In re:                                                      Chapter 11

    VENUS LIQUIDATION INC., et al.,                             Case No. 23-10738 (JPM)

                                    Debtors.1                   (Jointly Administered)


    ORDER GRANTING DEBTORS’ OMNIBUS MOTION FOR AN ORDER
PURSUANT TO SECTIONS 105(a), 363(b) AND 363(f) OF THE BANKRUPTCY CODE
  AND BANKRUPTCY RULE 9019 APPROVING SETTLEMENT STIPULATIONS

                 Upon the motion [Docket No. __] (the “Motion”)2 of Venus Liquidation

Inc. (f/k/a Vice Group Holding, Inc.) and its debtor affiliates, as debtors and debtors in

possession (collectively, the “Debtors”) in the above-captioned Chapter 11 Cases for

entry of an order (this “Order”), pursuant to sections 105(a), 363(b), and 363(f) of the

Bankruptcy Code and Bankruptcy Rule 9019, approving:

     i. the Stipulation and Agreed Order Resolving Claims Among and Between the Debtors,
        the Buyer Entities, and the Antenna Entities, annexed to this Order as Exhibit 1
        (the “Antenna Stipulation”) by and among the Debtors, Vice Acquisition Holdco,
        LLC (the "Buyer," and together with Buyer's direct and indirect subsidiaries, the
        "Buyer Entities"), Antenna Group B.V., Antenna TV S.A., and Antenna Internet
        Ventures B.V. (collectively, the “Antenna Entities”), and Vice Antenna B.V.
        (the "Joint Venture", together with the Debtors and Buyer Entities, the “Antenna
        Stipulation Parties”); and

     ii. the Stipulation and Agreed Order Resolving Claims Among and Between the Debtors,
         the Buyer Entities, and the Committee, annexed to this Order as Exhibit 2
1
     The Debtors in these chapter 11 cases and the last four digits of their respective tax identification
     numbers are: Venus Liquidation Inc. (f/k/a Vice Group Holding Inc.) (4250); Vice Impact Inc. (9603);
     Vice Media LLC (5144); Villain LLC (3050); Boy Who Cried Author LLC (6199); Carrot Operations LLC
     (1596); Carrot Creative LLC (8652); Channel 271 Productions LLC (1637); Clifford Benski, Inc. (9387);
     Dana Made LLC (1065); Inverness Collective LLC (6542); JT Leroy Holding LLC (7555); PLDM Films
     LLC (5217); Project Change LLC (2758); R29 Pride, LLC (7011); R29 Productions, LLC (6344); Refinery
     29 Inc. (7749); Valvi LLC (6110); Vice Content Development, LLC (5165); Vice Distribution LLC (5515);
     Vice Europe Holding Limited (N/A); Vice Europe Pulse Holding Limited (N/A); Vice Food LLC
     (1693); Vice Holding Inc. (2658); Vice International Holding, Inc. (5669); Vice Music Publishing LLC
     (3022); Vice Payroll LLC (6626); Vice Productions LLC (5399); Vice Project Services LLC (6473); Virtue
     Worldwide, LLC (7212); Visur LLC (9336); and VTV Productions LLC (6854). The location of the
     Debtors’ service address for purposes of these chapter 11 cases is: c/o Alix Partners, 909 Third Avenue,
     30th Floor, New York, New York 10022.
2
     Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such
     terms in the Motion.
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       (the “Committee Stipulation” and together with the Antenna Stipulation,
       the “Stipulations”) by and among the Debtors, the Buyer Entities, and the Official
       Committee of Unsecured Creditors (the “Committee," together with the Debtors
       and Buyer Entities, the “Committee Stipulation Parties” and collectively with the
       Antenna Parties and the Joint Venture, the “Settling Parties”);

and upon the Pometti Declaration in support of the Motion, a copy of which is attached

to the Motion as Exhibit B; and it appearing that the Court has jurisdiction to consider

the Motion and relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order, and consideration of the Motion and the relief requested

therein being a core proceeding pursuant to 28 U.S.C. § 157(b), and venue being proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties-in-interest; and this Court having reviewed the Motion, the

Pometti Declaration and the Stipulations; and good and sufficient notice of the Motion

having been given to all parties entitled thereto, and no other or further notice need be

given; and upon the record of all of the proceedings held before the Court; and no

objections to the Motion having been timely filed; and after due deliberation and

sufficient cause appearing therefor, it is hereby:

               ORDERED, ADJUDGED, AND DECREED THAT:

               1.      The Motion [Docket No. __] is GRANTED to the extent set forth

herein.

               2.      The Stipulations, the terms of which are incorporated herein, are

approved.

               3.      All objections, if any, to the Motion and the relief requested therein

that have not been withdrawn, waived, or settled, and all reservations of rights

included in such objections, are hereby overruled on the merits with prejudice.




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               4.       The failure to include any particular provision of the Stipulations in

this Order shall not diminish or impair the effectiveness of such provision, it being the

intent of this Court that the Stipulations be authorized and approved in their entirety.

               5.       The Debtors and the other Settling Parties are authorized to take all

necessary actions as may be reasonably necessary or appropriate to carry out this Order

without seeking further Court approval.

               6.       Section 363(f) of the Bankruptcy Code is satisfied with respect to

the JV Interest Sale.

               7.       The JV Interest Sale is approved free and clear of any liens,

defenses (including rights of setoff and recoupment), and interests, in each case, in, on,

or related to the 51% interest in the Joint Venture, including security interests of

whatever kind or nature, mortgages, conditional sales or title retention agreements,

pledges, purchase options, rights of first refusal or offer, deeds of trust, hypothecations,

mechanics’ and materialman’s liens, rights of way, assignments, preferences, debts,

easements, charges, suits, licenses, options, rights of recovery, judgments, orders and

decrees of any court or foreign or domestic governmental entity, taxes (including

foreign, state, and local taxes), covenants, put options, restrictions, title defects, or other

survey defects of any kind, indentures, instruments, leases, options, off-sets, causes of

action, contract rights and claims, any restriction on or transfer or other assignment, as

security or otherwise, of or relating to use, quiet enjoyment, voting, transfer, receipt of

income or exercise of any other attribute of ownership, in each case to the fullest extent

of the law, in each case, of any kind or nature in, on, or related to the 51% interest in the

Joint Venture (including all “claims” as defined in section 101(5) of the Bankruptcy

Code), known or unknown, whether prepetition or postpetition, secured or unsecured,

choate or inchoate, filed or unfiled, scheduled or unscheduled, perfected or


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unperfected, liquidated or unliquidated, noticed or unnoticed, recorded or unrecorded,

contingent or non-contingent, material or non- material, statutory or non-statutory,

matured or unmatured, legal or equitable, including any and all such liabilities, causes

of action, contract rights and claims arising out of the Debtors’ 51% interest in the Joint

Venture.

               8.       The Stipulations and any related agreements, documents, or other

instruments, if any, may be further modified, amended, or supplemented by the parties

thereto, in a writing signed by the respective Settling Parties, and in accordance with

the terms thereof, without further order of this Court, provided that any such

modification, amendment, or supplement does not have a materials adverse effect on

the Debtors’ estates.

               9.       Notwithstanding Bankruptcy Rule 6004(h), this Order shall be

effective and enforceable immediately upon entry hereof.

               10.      The requirements set forth in Local Bankruptcy Rule 9013-1(b) are

satisfied by the contents of the Motion.

               11.      This Court shall retain jurisdiction to hear and determine all

matters arising from or related to the implementation, interpretation, and/or

enforcement of this Order.

Dated: Febraury [__], 2024
       New York, New York                           /s/
                                                    HONORABLE JOHN P. MASTANDO III
                                                   UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit 1

                               Antenna Stipulation
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:                                                   Chapter 11

VENUS LIQUIDATION INC., et al.,                          Case No. 23-10738 (JPM)

                                          Debtors.1      (Jointly Administered)

    STIPULATION RESOLVING CLAIMS AMONG AND BETWEEN THE DEBTORS,
             THE BUYER ENTITIES, AND THE ANTENNA ENTITIES

         By and through their undersigned counsel, each of the above-captioned debtors

and debtors in possession (collectively, the “Debtors”), Vice Acquisition Holdco, LLC

("Buyer," and together with Buyer's direct and indirect subsidiaries, the "Buyer Entities"),

Antenna Group B.V., Antenna TV S.A., and Antenna Internet Ventures B.V. (collectively,

the “Antenna Entities”), and Vice Antenna B.V. (the “Joint Venture," and together with

the Debtors, the Buyer Entities and the Antenna Entities, the “Parties”) hereby enter into

this stipulation (this “Stipulation”) as set forth below.

                                               RECITALS

         WHEREAS, on May 15, 2023 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the Southern District of New York (the

“Court”).




1
 The debtors in these chapter 11 cases and the last four digits of their respective tax identification numbers
are: Venus Liquidation Inc. f/k/a Vice Group Holding Inc. (4250); Vice Impact Inc. (9603); Vice Media LLC
(5144); Villain LLC (3050); Boy Who Cried Author LLC (6199); Carrot Operations LLC (1596); Carrot
Creative LLC (8652); Channel 271 Productions LLC (1637); Clifford Benski, Inc. (9387); Dana Made LLC
(1065); Inverness Collective LLC (6542); JT Leroy Holding LLC (7555); PLDM Films LLC (5217); Project
Change LLC (2758); R29 Pride, LLC (7011); R29 Productions, LLC (6344); Refinery 29 Inc. (7749); Valvi LLC
(6110); Vice Content Development, LLC (5165); Vice Distribution LLC (5515); Vice Europe Holding Limited
(N/A); Vice Europe Pulse Holding Limited (N/A); Vice Food LLC (1693); Vice Holding Inc. (2658); Vice
International Holding, Inc. (5669); Vice Music Publishing LLC (3022); Vice Payroll LLC (6626); Vice
Productions LLC (5399); Vice Project Services LLC (6473); Virtue Worldwide, LLC (7212); Visur LLC (9336);
and VTV Productions LLC (6854).
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       WHEREAS, prior to the Petition Date, the Debtors and the Antenna Entities were

parties to a series of agreements concerning the potential access to and distribution of the

Debtors’ and their non-debtor affiliates' content in Greece, Romania and Serbia, Hungary,

Bulgaria, Czech Republic, Slovakia, Slovenia, Croatia, Poland, Albania, North Macedonia

(FYROM), Bosnia, Cyprus, Montenegro, the Commonwealth of Independent States (CIS)

(comprising Armenia, Azerbaijan, Belarus, Georgia, Kazakhstan, Kyrgyzstan, Moldova,

Russia, Tajikistan, Turkmenistan, Ukraine and Uzbekistan), Estonia, Latvia and

Lithuania through the Joint Venture, with Debtor Vice Europe Holding Limited owning

a 51% interest in the Joint Venture and Antenna Internet Ventures B.V. ("Antenna")

owning a 49% interest in the Joint Venture.

       WHEREAS, on May 15, 2023, the Debtors filed the Motion for Entry of an Order (I)

Establishing Bidding, Noticing, and Assumption and Assignment Procedures, (II) Authorizing

and Approving the Debtors’ Entry into the Stalking Horse Agreement, (III) Approving the Sale

of Substantially all of the Debtors’ Assets and (IV) Granting Related Relief (the “Sale Motion”)

[Docket No. 16], which, among other things, sought approval of bidding procedures and

the sale of substantially all of the Debtors’ assets to the Buyer (the “Sale”) as well as the

procedures for the assumption and assignment of executory contracts and leases in

connection with the Sale.

       WHEREAS, on May 23, 2023, the Office of the United States Trustee for the

Southern District of New York appointed an Official Committee of Unsecured Creditors

in the Chapter 11 Cases.

       WHEREAS, on May 30, 2023, the Court entered the Order (I) Establishing Bidding,

Noticing, and Assumption and Assignment Procedures, (III) Authorizing and Approving The

Debtors’ Entry Into The Stalking Horse Agreement, and (III) Granting Related Relief [Docket

No. 80].


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       WHEREAS, on June 23, 2023, the Court entered the Order (A) Approving the Asset

and Equity Purchase Agreement, (B) Authorizing the Sale of Assets, (C) Authorizing the

Assumption and Assignment of Contracts and Leases, and (D) Granting Related Relief [Docket

No. 214], which, among other things, approved the Sale to the Buyer (the "Sale Order"),

pursuant to the terms of that Asset and Equity Purchase Agreement, dated as of May 19,

2023, by and between Buyer, Vice Group Holding Inc., and the other sellers named

therein (as amended from time to time, the "Purchase Agreement").

       WHEREAS, pursuant to the Order Approving procedures for the Rejection of Executory

Contracts and Unexpired Leases, entered by the Court on July 18, 2023 [Docket No. 315], the

Debtors provided notice, [Docket No. 338] (the “First Rejection Notice”), of their intent to

reject, inter alia, the Debtors’ executory contracts with the Antenna Entities and the Joint

Venture (the “Antenna Contracts”) set forth on Exhibit A.

       WHEREAS, the Debtors closed the Sale on July 31, 2023, and filed: (1) the Notice of

(1) Closing of the Sale and (2) Filing of the Transition Services Agreement (the “Sale Closing

Notice”) [Docket No. 337]. Under the Sale, the Buyer or its designees acquired certain

assets of the Debtors, including interests of the Debtors in certain non-debtor affiliates,

which may be interested parties to claims and interests in connection with, or arising

under, the Antenna Contracts and/or the Joint Venture.

       WHEREAS, on July 31, 2023, the Debtors entered into that certain transition

services agreement (the “TSA”) with the Purchaser [Docket No. 337] to effectuate an

orderly transition of the Debtors’ assets and business operations to the Buyer Entities.

       WHEREAS, on August 4, 2023, in connection with good faith negotiations, the

Debtors filed the Notice of Withdrawal of Rejection of Executory Contracts And/Or Unexpired

Leases [Docket No. 381] with respect to the Antenna Contracts.




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       WHEREAS, following good faith negotiations between the Parties and their

respective counsel, and in order to avoid the cost and uncertainty of investigating and

litigating the issues related to the claims that could arise under rejection of the Antenna

Contracts, the wind down of the Joint Venture and its subsidiaries, and claims in

connection with the Sale and the TSA, the Parties have agreed to resolve as provided in

this Stipulation.

       NOW, THEREFORE, IT IS HEREBY STIPULATED, AGREED, AND

ORDERED THAT:

       1.      This Stipulation will be effective upon entry of orders by the Bankruptcy

Court, in form and substance acceptable to the Parties, approving (i) this Stipulation, and

(ii) that Stipulation and Agreed Order Resolving Claims Among and Between the Debtors, the

Buyer Entities, and the Committee, dated as of the date hereof, in each case pursuant to Fed.

R. Bankr. P. 9019 (the “Effective Date”).

       2.      The Antenna Contracts identified in Exhibit A hereto are rejected and

deemed terminated effective as of July 31, 2023, and the Antenna Entities and the Joint

Venture retain the right to assert general unsecured claims against the Debtors in

connection with the rejection of the Antenna Contracts within thirty (30) days after the

Effective Date.

       3.      Within fifteen (15) business days after the Effective Date, (i) Debtor Vice

Europe Holding Limited shall convey all of its right, title, and interest in its 51% interest

in the Joint Venture to Antenna free and clear of all Encumbrances (as defined in the Sale

Order) pursuant to a deed of transfer, and (ii) the Antenna Entities shall pay Vice Europe

Holding Limited or its designee €937,875 (the "Antenna Payment").

       4.      The consideration provided by the Antenna Entities pursuant to this

Stipulation (a) was negotiated at arm’s-length, (b) is fair and reasonable, and (c)


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constitutes reasonably equivalent value and fair consideration (as those terms are defined

in each of the Uniform Voidable Transactions Act (formerly the Uniform Fraudulent

Transfer Act), Uniform Fraudulent Conveyance Act, and section 548 of the Bankruptcy

Code) under the laws of the United States, any state, territory, possession, the District of

Columbia, or any foreign jurisdiction.

       5.      The Antenna Entities and the Joint Venture and its direct and indirect

subsidiaries (collectively, the "Joint Venture Entities") assume responsibility for the

continuation or wind down of the affairs of the Joint Venture Entities, including, but not

limited to, use of the remaining cash on hand at the Joint Venture Entities and the

proceeds of any account receivables owed directly to the Joint Venture Entities (and not

any account receivables owed to the Debtors or the Buyer Entities) to satisfy any payables

and obligations that may be asserted against the Joint Venture Entities, including claims

relating to social security, salaries, severance and taxes arising under applicable law.

       6.      For the avoidance of doubt, all rights in and ownership of existing content

and other Intellectual Property Rights (defined below) created or produced by the Joint

Venture Entities in the course of their business prior to the Effective Date (collectively,

the "Existing Content") shall vest in the Joint Venture Entities, as applicable; provided

that (a) to the extent such Existing Content incorporates any Intellectual Property Rights

of the Debtors or the Buyer Entities (such portion of content and Intellectual Property

Rights, collectively, the "Vice IPR"), such Vice IPR shall remain owned by, and the

exclusive property of, the Debtors or the Buyer Entities, as applicable, (b) the Joint

Venture Entities shall not be permitted to retain any right or Interest in any Existing

Content to the extent it was created or produced in violation of any contract or agreement

with the Debtors or the Buyer Entities, including but not limited to the Antenna

Contracts. The Joint Venture Entities, as applicable, may continue to exploit the Vice IPR


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on a non-exclusive basis (a) solely in the format and manner incorporated in the Existing

Content and exploited by the Joint Venture Entities as of the date hereof, (b) solely as may

be necessary in order to comply with ongoing contractual obligations (existing and

binding as of the date hereof) of the Joint Venture Entities under the sublicenses set forth

on Exhibit B, (c) solely as permitted by the sublicenses set forth on Exhibit B, and (d)

solely until such contractual obligations expire or terminate by their terms without a right

or option for renewal. For the avoidance of doubt, the limited license set forth in the

preceding sentence does not grant the Joint Venture Entities any rights whatsoever in the

Vice IPR except as set forth in the sublicenses set forth on Exhibit B and in no event shall

the Joint Venture Entities be permitted to generate any new content incorporating, or

otherwise use or exploit, any Vice IPR. Notwithstanding anything herein to the contrary,

(i) the Buyer Entities retain all rights in and ownership of all Vice IPR licensed to the

Antenna Entities pursuant to the sublicenses set forth on Exhibit B, and (ii) such licensed

Vice IPR shall remain subject to any and all restrictions, in all respects, set forth by the

Licensor (as defined in the applicable sublicense), including but not limited to any use

restrictions,   confidentiality   and   non-disparagement     obligations   contained    or

incorporated therein, including but not limited to Sections 4 and 15 of the applicable

sublicense. For purposes of this paragraph 5, "Intellectual Property Rights" means

patents, rights to inventions, copyright and related rights, moral rights, trade marks,

business names and domain names, rights in get-up, goodwill and the right to sue for

passing off, rights in designs, rights in computer software, database rights, rights to use

and protect the confidentiality of, confidential information (including know-how), and

all other intellectual property rights, in each case, whether registered or unregistered and

including all applications and rights to apply for and to be granted, renewals or

extensions of, and rights to claim priority from, such rights and all similar or equivalent


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rights or forms of protection which subsist now or in the future in any part of the world.

To the fullest extent permissible by applicable law, Debtors and the Buyer Entities hereby

expressly disclaim all warranties, express or implied, with respect to the Vice IPR,

including any warranty of title or non-infringement, and all liability with respect to the

use of the Vice IPR by the Joint Venture Entities. In the event the Joint Venture Entities

violate the license restrictions with respect to the Vice IPR as set forth in this paragraph

or in the sublicenses set forth in Exhibit B, the licenses set forth in this paragraph shall

automatically terminate and all rights shall revert to the Debtors and Buyer Entities, as

applicable.

       7.      The Debtors shall complete the transfer of all of their direct and indirect

interests in the Purchased Entities (as defined in the Purchase Agreement) as

contemplated under the Purchase Agreement, and take all such steps reasonably

necessary to accomplish the same (including the appointment of directors or managers

to implement such corporate action), and complete the corporate name changes as

required by the Purchase Agreement. Specifically,

       (a) the Debtors are authorized to appoint Jeffrey Serota, Jame Donath, and Moshin

            Meghji as directors (the “Proposed Directors”) of Debtors: (i) Vice Holding,

            Inc., (ii) Vice Europe Holding Limited, (iii) Vice International Holding, Inc.,

            and (iv) Vice Europe Pulse Holding Ltd., and such other entities as necessary

            to complete the transfer of the Debtors' direct and indirect interests of the

            Purchased Entities to the Buyer Entities (collectively, the "New Director

            Entities"); and

       (b) the Proposed Directors, accepting appointment as directors of the New

            Director Entities, and acting in their discretion to take such corporate actions

            as are necessary or desirable to facilitate completion of post-closing items in


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            connection with the Sale to the Buyer Entities, are acting within the scope of

            their fiduciary duties and consistent with the exercise of their reasonable

            business judgment.

       8.      Except as set forth in paragraph 2 of this Stipulation, upon the Debtors'

receipt of the Antenna Payment and the effective transfer of the Debtors' interests in the

Joint Venture to Antenna free and clear of all Encumbrances, each of the Parties, on behalf

of itself and its respective Affiliates (as defined in the version of the Purchase Agreement

attached to the Sale Order), hereby fully and forever releases, acquits and discharges each

other Party and its Affiliates, and its and their respective directors, officers, control

persons (as defined in Section 15 of the Securities Act or Section 20 of the Exchange Act),

lenders, administrative or other agents under any loan facility, members, employees,

agents, attorneys, financial advisors, consultants, representatives, direct and indirect

shareholders, partners, successors and assigns (collectively, the "Released Parties"), in

each case, solely in their capacity as such, from any and all claims, counterclaims, actions,

causes of action, suits, debts, liens, obligations, liabilities, demands, complaints, rights of

recovery, damages, losses, costs and expenses (including attorneys’ fees) of any kind,

character, or nature whatsoever, known or unknown, asserted or unasserted, fixed or

contingent, including, but not limited to, claims for payment, reimbursement, setoff,

recoupment, indemnity, contribution, or indemnification, or causes of action arising

under Chapter 5 of the Bankruptcy Code, arising in whole or in part under, related to,

based on or in connection with the Joint Venture and/or the Antenna Contracts or the

subject matter thereof, whether now existing or hereafter arising and whether sounding

in tort or contract or otherwise (collectively, the "Claims"); provided, however, that such

release shall not affect the obligations of the Parties under this Stipulation or any Claims

by Antenna Entities against the Joint Venture or its direct and indirect subsidiaries.


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       9.      Vice Europe Holding Limited and each of the other Debtors is authorized

to implement and effectuate the terms of this Stipulation and take such action as may be

necessary or desirable to consummate the transactions contemplated by this Stipulation,

including, but not limited to, executing such documents that may be necessary to give

effect to the deed of transfer.

       10.     From time to time, as and when requested by any Party and to the extent

contemplated by this Stipulation, each Party shall execute and deliver, or cause to be

executed and delivered, all such documents and instruments and shall take, or cause to

be taken, all such further or other actions as such other Party may reasonably deem

necessary or desirable to consummate the transactions contemplated by this Stipulation,

including such actions as may be necessary to vest, perfect, or confirm, of record or

otherwise, in Antenna all of the right, title, and interest in and to the Joint Venture free

and clear of all Encumbrances, which may include documents and instruments

evidencing the release of any Encumbrance held by Wilmington Trust, National

Association, in its capacity as Collateral Agent under the Prepetition Senior Secured

Credit Agreement (as defined in the Sale Motion) (in such capacity, the "Collateral

Agent"). Notwithstanding anything herein to the contrary, the Debtors shall (i) be

responsible for any reasonable out-of-pocket fees, costs or expenses (including reasonable

attorneys' fees and expenses) incurred in connection with transferring the Debtors'

Interests in the Joint Venture free and clear of all Encumbrances, including in connection

with the release of any Encumbrances held by the Collateral Agent, (ii) as a condition to

the release of any Encumbrances held by the Collateral Agent, pay to Collateral Agent a

$5,000 fee and the fees, costs and expenses described in subparagraph (i), and (iii) be

responsible for any reasonable out-of-pocket fees, costs or expenses incurred by the

Collateral Agent in connection with the release of any Encumbrances against the Debtors'


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property upon the effective date of any chapter 11 plan. For the avoidance of doubt, any

chapter 11 plan of the Debtors shall incorporate the Debtors' obligations set forth in the

immediately preceding sentence.

       11.      Each Party represents and warrants that it has full authority to enter into

this Stipulation.

       12.      Each Party represents and warrants that neither it nor its Affiliates has

transferred or assigned any of the Claims, or any interests therein.

       13.      This Stipulation and the attached exhibits constitute the entire agreement

and understanding of the Parties relating to the subject matter hereof and supersede all

prior agreements and understandings relating to the subject matter hereof.

       14.      No statement made or action taken in the negotiation of this Stipulation

may be used by any party for any purpose whatsoever.

       15.      Each Party represents and warrants to the other Parties that it: (a) made this

Stipulation freely and voluntarily and with full knowledge of its significance; and (b) has

been represented by counsel of its own choice in the negotiations preceding the execution

of this Stipulation and in connection with the preparation and execution of this

Stipulation.

       16.      This Stipulation may be executed in one or more counterparts, each of

which shall be deemed an original, and all of which shall constitute one and the same

instrument.

       17.      This Stipulation shall be governed and construed in accordance with the

laws of the State of New York without giving effect to the conflict of laws or choice of law

provisions thereof, except to the extent that the law of the United States, including the

Bankruptcy Code, governs any matters set forth herein, in which case such federal law

shall govern.


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       18.     All of the recitals stated above are incorporated by reference as if fully set

forth herein. No modification, amendment or waiver of any of the provisions of this

Stipulation shall be effective unless in writing and signed by the Parties and approved by

the Court.

       19.     The Parties acknowledge that they have participated in and jointly

consented to the drafting of this Stipulation and the exhibits and that any claimed

ambiguity shall not be construed for or against any Party on account of such drafting.

       20.     This Stipulation shall be binding on and inure to the benefit of each of the

Parties and each of their respective heirs, executors, administrators, successors, and

permitted assigns. For the avoidance of doubt, each Released Party is an express third

party beneficiary of the releases in paragraph 7 hereof.

       21.     Notwithstanding the possible applicability of Bankruptcy Rule 6004, 7062,

and 9014, or otherwise, the terms and conditions of this Stipulation shall be effective and

enforceable immediately upon entry.




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      IN WITNESS WHEREOF, the parties have executed, or caused this Stipulation to

be executed, by their duly authorized representatives as of the date set forth above.

 For the Debtors                             For Antenna Internet Ventures B.V.

 TOGUT, SEGAL & SEGAL LLP,                   /s/ Jochem de Koning
                                             Jochem de Koning
                                             Director


 /s/ Frank A. Oswald                         /s/ Marc Zagar              ________
 Frank A. Oswald                             Marc Zagar
 Kyle J. Ortiz                               Director
 Brian F. Moore
 One Penn Plaza, Suite 3335                  For Antenna Group B.V.
 New York, New York 10119
 Tel: (212) 594-5000                         /s/ Jochem de Koning               _
 frankoswald@teamtogut.com                   Jochem de Koning
 kortiz@teamtogut.com                        Director
 bmoore@teamtogut.com
                                             /s/ Marc Zagar              __________
                                             Marc Zagar
                                             Director

                                             For Antenna TV S.A.

                                             /s/ George Rallis              __
                                             George Rallis
                                             Group A Signatory by Board Authority


                                             /s/ Fotini Raxi                ___
                                             Fotini Raxi
                                             Group A Signatory by Board Authority




 For the Purchaser                           For the Joint Venture

 GIBSON, DUNN & CRUTCHER LLP


 /s/ Michael S. Neumeister                   /s/ Jochem de Koning
 Michael S. Neumeister                       Jochem de Koning
 (admitted pro hac vice)                     Director
 333 South Grand Avenue
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 Los Angeles, California 90071
 Tel: (213) 229-7000                     /s/ Marc Zagar             ________
 MNeumeister@gibsondunn.com              Marc Zagar
                                         Director
    -and-
 David M. Feldman
 Tommy Scheffer
 200 Park Avenue
 New York, New York 10166
 Tel: (212) 351-4000
 DFeldman@gibsondunn.com
 TScheffer@gibsondunn.com
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                                            EXHIBIT A

         SCHEDULE OF EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

  COUNTERPARTY                ADDRESS                      ADDITIONAL DESCRIPTION
Vice Antenna B.V.     De Boelelaan 7             Service Agreement: Consultancy Services
                      1083 HJ, Amsterdam,        Agreement, dated as of December 27, 2019, by and
                      Noord-Holland              between Vice Antenna BV and Vice Media LLC.
                      Netherlands
Antenna TV S.A.       10-12 Kifissias Avenue     Service Agreement: Consultancy Services
                      151 25 Maroussi, Athens    Agreement, dated as of December 27, 2019, by and
                      Greece                     between Antenna TV SA, Vice Media LLC, and Vice
                                                 Group Holding Inc.
Antenna TV S.A.       10-12 Kifissias Avenue     Service Agreement: Excerpting Agreement, dated as
                      Maroussi, Athens 151 25    of December 27, 2019, by and between Antenna TV
                      Greece                     SA and Vice Media LLC
Antenna Internet      De Boelelaan 7             Joint Venture Agreement: Amended and Restated
Ventures B.V.         1083 HJ, Amsterdam,        Joint Venture Agreement, dated as of October 24,
                      Noord-Holland              2019, by and between Antenna Internet Ventures
                      Netherlands                B.V., Vice Europe Holding Limited, Antenna TV
                                                 S.A., Antenna Group B.V., Vice Antenna B.V., Vice
                                                 Greece S.A., Vice Distribution LLC and Vice Group
                                                 Holding Inc.
Antenna Internet      De Boelelaan 7             Joint Venture Agreement: Amendment Agreement,
Ventures B.V.         1083 HJ, Amsterdam,        dated as of December 31, 2019, by and between
                      Noord-Holland              Antenna Internet Ventures B.V., Vice Europe
                      Netherlands                Holding Limited, Antenna TV S.A., Antenna Group
                                                 B.V., Vice Antenna B.V., Vice Greece S.A., Vice
                                                 Distribution LLC and Vice Group Holding Inc.,
                                                 relating to that certain Amended and Restated Joint
                                                 Venture Agreement.
Vice Antenna B.V.     De Boelelaan 7             License Agreement: License Agreement, dated as of
                      1083 HJ, Amsterdam,        March 27, 2020, by and between Vice Europe
                      Noord-Holland              Holding Limited, Vice Antenna B.V. and Vice UK
                      Netherlands                Limited.
Antenna Internet      De Boelelaan 7             Dividend Waiver Side Letter: Dividend Waiver Side
Ventures B.V.         1083 HJ, Amsterdam,        Letter, dated as of March 27, 2020, by and between
                      Noord-Holland              Vice Europe Holding Limited, Antenna Internet
                      Netherlands                Ventures B.V. and Vice Antenna B.V.
Antenna Internet      De Boelelaan 7             Amendment Agreement: Amendment Agreement,
Ventures B.V.         1083 HJ, Amsterdam,        dated as of August 23, 2021, by and between
                      Noord-Holland              Antenna Internet Ventures B.V., Vice Europe
                      Netherlands                Holding Limited, Antenna TV S.A., Antenna Group
                                                 B.V., Vice Antenna B.V., Vice Greece S.A., Vice
                                                 Antenna S.R.L., Vice Media d.o.o., Vice Distribution
                                                 LLC and Vice Group Holding Inc., relating to that
                                                 certain Amended and Restated Joint Venture
                                                 Agreement.
Antenna Internet      De Boelelaan 7             Notice of Deferral of Exercise: Notice of Deferral of
Ventures B.V.                                    Exercise of Tranche 1 Put Option, dated as of August
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  COUNTERPARTY                ADDRESS                   ADDITIONAL DESCRIPTION
                      1083 HJ, Amsterdam,     24, 2021, from Antenna Internet Ventures B.V. to
                      Noord-Holland           Vice Group Holding Inc.
                      Netherlands
Antenna Internet      De Boelelaan 7          Notice of Deferral of Exercise: Notice of Deferral of
Ventures B.V.         1083 HJ, Amsterdam,     Exercise of Tranche 2 Put Option, dated as of March
                      Noord-Holland           28, 2022, from Antenna Internet Ventures B.V. to
                      Netherlands             Vice Group Holding Inc.
Antenna Internet      De Boelelaan 7          Notice of Deferral of Exercise: Notice of Deferral of
Ventures B.V.         1083 HJ, Amsterdam,     Exercise of Tranche 3 Put Option, dated as of March
                      Noord-Holland           27, 2023, from Antenna Internet Ventures B.V. to
                      Netherlands             Vice Group Holding Inc.
Antenna TV S.A.       10-12 Kifisias Ave      Statement of Work: Statement of Work Agreement,
                      Maroussi                dated as of December 27, 2019, by and between
                      Greece                  Antenna TV S.A. and Vice Media LLC relating to
                                              that certain Consultancy Services Agreement.
Vice Antenna B.V.     De Boelelaan 7          Statement of Work Agreement, dated as of
                      1083 HJ, Amsterdam,     December 27, 2019, by and between Vice Antenna
                      Noord-Holland           B.V. and Vice Media LLC relating to that certain
                      Netherlands             Consultancy Services Agreement.
Vice Antenna B.V.     De Boelelaan 7          Deed of Release and Undertakings: Deed of Release
                      1083 HJ, Amsterdam,     and Undertakings, dated as of December 27, 2019,
                      Noord-Holland           by and between Vice Group Holding Inc., Vice
                      Netherlands             Media LLC, Vice Distribution LLC, Global News
                                              and Antenna Group B.V.
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                                            EXHIBIT B

                   SCHEDULE OF JOINT VENTURE SUB-LICENSES



   1. VICE Specials Documentary - Season 11 (2022)
      Total Episodes: 12
      License Expiration Date: January 31, 2024
      Contract Date: February 1, 2022

      S11 - Episode 1: VICE SPECIALS - The "Misunderstood" Students, Duration: 1:03:20
      S11 - Episode 2: VICE SPECIALS - The Persistent Alpinist, Duration: 0:41:27
      S11 - Episode 3: VICE SPECIALS - Human Trafficking, Duration: 0:47:59
      S11 - Episode 4: VICE SPECIALS - The Industry of Influencers, Duration: 0:45:31
      S11 - Episode 5: VICE SPECIALS - The Mental Health Odyssey in Greece, Duration: 0:46:16
      S11 - Episode 6 : VICE SPECIALS - Foster Care: From the Institution to the Family, Duration:
      0:41:21
      S11 - Episode 7: VICE SPECIALS - Prespa, a Lake Threatened, Duration: 0:48:43
      S11 - Episode 8: VICE SPECIALS - The "Colorful" Children We Hurt, Duration: 0:42:38
      S11 - Episode 9: VICE SPECIALS - Profession Delivery Driver, Duration: 0:38:09
      S11 - Episode 10: VICE SPECIALS - Made in Greece, Duration: 0:44:34
      S11 - Episode 11: VICE SPECIALS - Roma: Breaking the Stereotypes, Duration: 0:45:50
      S12 - Episode 12: VICE SPECIALS - The "Orphans" From Greece, Duration: 0:43:09


   2. VICE Specials Documentary - Season 12 (2023)
      Total Episodes: 8
      License Expiration Date: December 31, 2024
      Contract Date: January 1, 2023

      S11 - Episode 1: VICE SPECIALS - The Donors, Duration: 0:44:29mins
      S12 - Episode 3: VICE SPECIALS - Sexual Abuse: Unprotected Children, Duration: 0:58:27
      S12 - Episode 6: VICE SPECIALS - The Hidden Children, Duration: 0:48:03
      S12 - Episode 4: VICE SPECIALS - Turkey: The Earthquake That Will Judge The Election, Duration:
      0:39:39
      S12 - Episode 5: VICE SPECIALS - After Prison, , Duration: 0:43:36
      S12 - Episode 2: VICE SPECIALS - The Cannabis Industry, , Duration: 0:39:45
      S12 - Episode 7: VICE SPECIALS - The Greeks in the Occupied Ukraine, Duration: 1:02:01
      S12 - Episode 8: VICE SPECIALS - The Routes of Cocaine, Duration: 0:42:36


   3. VICE on ANT1+ - Season 1 (2022)
      Total Episodes: 15
      License Expiration Date: May 31, 2024
      Contract Date: June 1, 2022 (as amended on April 10, 2023)

      S1 - Episode 1: VICE on ANT1+ - Football Docs: Life Games, Duration: 0:33:40
      S1 - Episode 2: VICE on ANT1+ - Football Docs: Women on the Field, Duration: 0:32:37
      S1 - Episode 3: VICE on ANT1+ - Football Docs: The Nurseries, Duration: 0:31:17
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      S1 - Episode 4: VICE on ANT1+ - Football Docs: The Greeks of the World Cup, Duration: 0:31:12
      S1 - Episode 5: VICE on ANT1+ - Human Rights Docs: Marriage Equality, Duration: 0:30:07
      S1 - Episode 6: VICE on ANT1+ - Human Rights Docs: Equal Opportunities, Duration: 0:31:29
      S1 - Episode 7: VICE on ANT1+ - Human Rights Docs: Call Me Disabled, Duration: 0:30:30
      S1 - Episode 8: VICE on ANT1+ - Gen Z Docs: Youth, Political Parties and Social Media, Duration:
      0:32:48
      S1 - Episode 9: VICE on ANT1+ - Gen Z Docs: The Great Resignation, Duration: 0:30:54
      S1 - Episode 10: VICE on ANT1+ - Gen Z Docs: What Disappoints Me in the Education System,
      Duration: 0:30:26
      S1 - Episode 11: VICE on ANT1+ - Motor World Docs: Born for Speed, Duration: 0:30:04
      S1 - Episode 12: VICE on ANT1+ - Motor World Docs: The Pilots, Duration: 0:32:08
      S1 - Episode 13: VICE on ANT1+ - Motor World Docs: From Track to Ground, Duration: 0:30:51
      S1 - Episode 14: VICE on ANT1+ - Motor World Docs: The Wheels of Time, Duration: 0:31:36
      S1 - Episode 15: VICE on ANT1+ - Motor World Docs: The Modified, Duration: 0:30:08
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                                     Exhibit 2

                              Committee Stipulation
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:                                                   Chapter 11

VENUS LIQUIDATION INC., et al.,                          Case No. 23-10738 (JPM)

                                          Debtors.1      (Jointly Administered)

    STIPULATION RESOLVING CLAIMS AMONG AND BETWEEN THE DEBTORS,
                THE BUYER ENTITIES, AND THE COMMITTEE

         By and through their undersigned counsel, each of the debtors and debtors in

possession in these chapter 11 cases (collectively, the “Debtors”),2 Vice Acquisition

Holdco, LLC ("Buyer," and together with Buyer's direct and indirect subsidiaries, the

"Buyer Entities"), and Official Committee of Unsecured Creditors (the “Committee," and

together with the Debtors and the Buyer Entities, the “Parties”) hereby enter into this

stipulation (this “Stipulation”) as set forth below.

                                               RECITALS

         WHEREAS, on May 15, 2023 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the Southern District of New York (the

“Court”).



1
 The location of the debtors’ service address for purposes of these chapter 11 cases is c/o Alix Partners 909
Third Avenue 30th Floor, New York, NY 10022
2
 The debtors in these chapter 11 cases and the last four digits of their respective tax identification numbers
are: Venus Liquidation Inc. f/k/a Vice Group Holding Inc. (4250); Vice Impact Inc. (9603); Vice Media LLC
(5144); Villain LLC (3050); Boy Who Cried Author LLC (6199); Carrot Operations LLC (1596); Carrot
Creative LLC (8652); Channel 271 Productions LLC (1637); Clifford Benski, Inc. (9387); Dana Made LLC
(1065); Inverness Collective LLC (6542); JT Leroy Holding LLC (7555); PLDM Films LLC (5217); Project
Change LLC (2758); R29 Pride, LLC (7011); R29 Productions, LLC (6344); Refinery 29 Inc. (7749); Valvi LLC
(6110); Vice Content Development, LLC (5165); Vice Distribution LLC (5515); Vice Europe Holding Limited
(N/A); Vice Europe Pulse Holding Limited (N/A); Vice Food LLC (1693); Vice Holding Inc. (2658); Vice
International Holding, Inc. (5669); Vice Music Publishing LLC (3022); Vice Payroll LLC (6626); Vice
Productions LLC (5399); Vice Project Services LLC (6473); Virtue Worldwide, LLC (7212); Visur LLC (9336);
and VTV Productions LLC (6854).
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       WHEREAS, on the Petition Date, the Debtors filed the Motion for Entry of an Order

(I) Establishing Bidding, Noticing, and Assumption and Assignment Procedures, (II)

Authorizing and Approving the Debtors’ Entry into the Stalking Horse Agreement, (III)

Approving the Sale of Substantially all of the Debtors’ Assets and (IV) Granting Related Relief

[Docket No. 16], which, among other things, sought approval of bidding procedures and

the sale of substantially all of the Debtors’ assets to the Buyer Entities (the “Sale”), as well

as the procedures for the assumption and assignment of executory contracts and leases

in connection with the Sale.

       WHEREAS, on the Petition Date, the Debtors also filed a motion (the “DIP

Financing Motion”) [Docket No. 13] to approve a senior secured postpetition financing

facility provided by the DIP Lenders (as defined In the DIP Financing Order (defined

below)), authorizing Debtor Vice Group Holding Inc., in its capacity as borrower to

obtain post-petition financing, and for each of the other Debtors to guarantee

unconditionally on a joint and several basis, the borrower’s obligations in connection

with a senior secured superpriority debtor-in-possession multi-draw term loan facility

(the “DIP Facility”), which was approved on an interim basis pursuant to a Bankruptcy

Court order dated May 17, 2023 [Docket No. 40] (the “Interim DIP Financing Order”).

       WHEREAS, on May 23, 2023, the Office of the United States Trustee for the

Southern District of New York appointed an Official Committee of Unsecured Creditors

(the “Committee”) in the Chapter 11 Cases.

       WHEREAS, on May 30, 2023, in furtherance of a Sale, the Court entered the Order

(I) Establishing Bidding, Noticing, and Assumption and Assignment Procedures, (III)

Authorizing and Approving the Debtors’ Entry Into The Stalking Horse Agreement, and (III)

Granting Related Relief [Docket No. 80].




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       WHEREAS, the Debtors, the Committee, and the DIP Secured Parties and

Prepetition Secured Parties (each, as defined In the DIP Financing Order (defined below))

proceeded to consensually resolve informal objections and concerns raised by the

Committee in connection with the Sale, DIP Facility, and the Interim DIP Financing

Order, pursuant to a settlement (the “Committee Settlement”) embodied in paragraph 42

of the Final Order (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B) Use

Cash Collateral, (II) Granting Liens and Superpriority Claims, (III) Modifying the Automatic

Stay, (IV) Granting Adequate Protection to Prepetition Secured Parties, and (V) Granting

Related Relief which was approved by the Bankruptcy Court on June 13, 2023 [Docket No.

138] (the “DIP Financing Order”).

       WHEREAS, on June 23, 2023, the Court entered the Order (A) Approving the Asset

and Equity Purchase Agreement, (B) Authorizing the Sale of Assets, (C) Authorizing the

Assumption and Assignment of Contracts and Leases, and (D) Granting Related Relief (the “Sale

Order”) [Docket No. 214], which, among other things, approved the Sale to the Buyer

Entities.

       WHEREAS, the Debtors closed the Sale on July 31, 2023, and filed: (1) the Notice of

(1) Closing of the Sale and (2) Filing of the Transition Services Agreement [Docket No. 337].

       WHEREAS, on September 28, 2023, the Committee filed a motion (I) Deny

Reimbursement of Certain Fees and Expenses of Fortress and (II) Compel Disgorgement of an

Improper Postpetition Transfer to Fortress (the “Committee Motion") [Docket No. 507].

       WHEREAS, following good faith negotiations between the Parties’ respective

counsel in connection with the Debtors’ intention to move forward with a Chapter 11

plan of liquidation with the support of the Committee and in order to avoid the cost and

uncertainty of investigating and litigating claims related to the Sale and the Committee

Motion, the Parties have agreed to resolve as provided in this Stipulation.


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       NOW, THEREFORE, IT IS HEREBY STIPULATED, AGREED, AND

ORDERED THAT:

       1.      This Stipulation will be effective upon entry of orders by the Bankruptcy

Court, in form and substance acceptable to the Parties, approving (i) this Stipulation, and

(ii) that Stipulation and Agreed Order Resolving Claims Among and Between the Debtors, the

Buyer Entities, and the Antenna Entities, dated as of the date hereof (the "Antenna

Stipulation"), in each case pursuant to Fed. R. Bankr. P. 9019 (the “Effective Date”).

       2.      Within two (2) business days of the Effective Date,

       (i)     the Committee will withdraw the Committee Motion with prejudice;

       (ii)    the Reserved Lender Fee Amount (as defined In that Amendment No. 3 to

               Asset and Equity Purchase Agreement, dated as of July 31, 2023 [Docket

               No. 334] shall be indefeasibly paid to the Buyer pursuant to written wire

               instructions to be provided by Buyer to the Debtors prior to the Effective

               Date, free and clear of all liens, claims and Interests; and

       (iii)   the Buyer shall be indefeasibly paid $30,000 in full and final satisfaction of

               the Buyer Administrative Expense Claim (defined below).

       3.      As of the Effective Date, the Buyer shall have an allowed administrative

claim in the amount $30,000 under section 503 of the Bankruptcy Code in connection with

its reasonable legal fees incurred in connection with the resolution of claims in connection

with Stipulation (the "Buyer Administrative Expense Claim").

       4.      The Parties agree that (a) the $500,000 GUC Cash Reserve established for

general unsecured claims in connection with the Committee Settlement will remain with

the Debtors’ estates, and (b) the Committee Settlement set forth in the DIP Financing

Order shall be implemented in a chapter 11 plan in form and substance agreeable to the

Debtors, the Committee, the DIP Secured Parties, and the Prepetition Secured Parties.


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       5.      Subject to third party claims asserted against the Debtors in the Chapter 11

Cases that have been identified in writing to the Buyer Entities prior to the Buyer Entities’

execution hereof and subject to a reservation of rights and with no admission by the

Buyer Entities as to liability, the Debtors agree, and the Committee acknowledges, that

the Debtors' estates have, and hereby release, acquit and discharge, any claims or causes

of action against the Buyer Entities, the DIP Secured Parties, or the Prepetition Secured

Parties related to or in connection with the Sale, the Transition Services Agreement (as

defined in the Sale Order), the DIP Facility, or the administration of the Chapter 11 Cases.

       6.      The Buyer Entities agree and acknowledge that, provided the Debtors, after

the date hereof, promptly take all reasonably necessary actions to transfer any remaining

interests in the Purchased Entities (as defined in the APA (as defined in the Sale Order)),

the Buyer Entities shall not assert an administrative expense claim against the Debtors'

or their estates as a result of the Debtors' failure to transfer such Interests in the Purchased

Entities as of the date hereof.

       7.      Effective as of the date hereof, the obligation to respond or object to the

Committee Motion is hereby stayed and tolled, and no response or objection to the

Committee Motion shall be due until 21 days after entry by the Court of any order

denying either or both of this Stipulation or the Antenna Stipulation.

       8.      The Parties represent and warrant that they have full authority to enter into

this Stipulation.

       9.      This Stipulation constitute the entire agreement and understanding of the

Parties relating to the subject matter hereof and supersede all prior agreements and

understandings relating to the subject matter hereof.

       10.     No statement made or action taken in the negotiation of this Stipulation

may be used by any party for any purpose whatsoever.


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       11.      Each Party represents and warrants to the other Parties that it: (a) made this

Stipulation freely and voluntarily and with full knowledge of its significance; and (b) has

been represented by counsel of its own choice in the negotiations preceding the execution

of this Stipulation and in connection with the preparation and execution of this

Stipulation.

       12.      This Stipulation may be executed in one or more counterparts, each of

which shall be deemed an original, and all of which shall constitute one and the same

instrument.

       13.      This Stipulation shall be governed and construed in accordance with the

laws of the State of New York without giving effect to the conflict of laws or choice of law

provisions thereof, except to the extent that the law of the United States, including the

Bankruptcy Code, governs any matters set forth herein, in which case such federal law

shall govern.

       14.      All of the recitals stated above are incorporated by reference as if fully set

forth herein. No modification, amendment or waiver of any of the provisions of this

Stipulation shall be effective unless in writing and signed by the Parties and approved by

the Court.

       15.      The Parties acknowledge that they have participated in and jointly

consented to the drafting of this Stipulation and the exhibits and that any claimed

ambiguity shall not be construed for or against any Party on account of such drafting.

       16.      This Stipulation shall be binding on and inure to the benefit of the Parties

and their respective heirs, executors, administrators, successors, and permitted assigns.

       17.      Notwithstanding the possible applicability of Bankruptcy Rule 6004, 7062,

and 9014, or otherwise, the terms and conditions of this Stipulation shall be effective and

enforceable immediately upon entry.


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      IN WITNESS WHEREOF, the parties have executed, or caused this Stipulation to

be executed, by their duly authorized representatives as of the date set forth above.

 For the Debtors                             For Purchaser

 TOGUT, SEGAL & SEGAL LLP,                   GIBSON, DUNN & CRUTCHER LLP


 /s/ Frank A. Oswald                         _/s/ Michael S. Neumeister
 Frank A. Oswald                             Michael S. Neumeister
 Kyle J. Ortiz                               (admitted pro hac vice)
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 For the Committee

 PACHULSKI, STANG, ZIEHL & JONES
 LLP

 /s/ Robert J. Feinstein
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                                     Exhibit B

                          Declaration of Frank A. Pometti




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re                                                       Chapter 11

    VENUS LIQUIDATION INC., et al.,                             Case No. 23-10738 (JPM)

                                   Debtors.1                    (Jointly Administered)


            DECLARATION OF FRANK A. POMETTI IN SUPPORT OF
          DEBTORS’ OMNIBUS MOTION FOR AN ORDER PURSUANT
       TO SECTIONS 105(a), 363(b) AND 363(f) OF THE BANKRUPTCY CODE
     AND BANKRUPTCY RULE 9019 APPROVING SETTLEMENT STIPULATIONS

                  I, Frank A. Pometti, hereby declare under penalty of perjury that the

following is true to the best of my knowledge, information, and belief:

                  1.      I am the Chief Restructuring Officer of the Debtors in these Chapter

11 Cases and a partner and managing director of AlixPartners, LLP. The Debtors have

authorized me to submit this declaration (the “Declaration”).

                  2.      I submit this Declaration in support of the Debtors’ Omnibus Motion

for an Order Pursuant to Sections 105(a), 363(b) and 363(f) of the Bankruptcy Code and

Bankruptcy Rule 9019 Approving Settlement Stipulations (the “Motion”).2

                  3.      Except as otherwise noted herein, all statements in this Declaration

are based on: (a) my personal knowledge of the Motion’s subject matter and these


1
      The Debtors in these chapter 11 cases and the last four digits of their respective tax identification
      numbers are: Venus Liquidation Inc. (f/k/a Vice Group Holding Inc.) (4250); Vice Impact Inc. (9603);
      Vice Media LLC (5144); Villain LLC (3050); Boy Who Cried Author LLC (6199); Carrot Operations LLC
      (1596); Carrot Creative LLC (8652); Channel 271 Productions LLC (1637); Clifford Benski, Inc. (9387);
      Dana Made LLC (1065); Inverness Collective LLC (6542); JT Leroy Holding LLC (7555); PLDM Films
      LLC (5217); Project Change LLC (2758); R29 Pride, LLC (7011); R29 Productions, LLC (6344); Refinery
      29 Inc. (7749); Valvi LLC (6110); Vice Content Development, LLC (5165); Vice Distribution LLC (5515);
      Vice Europe Holding Limited (N/A); Vice Europe Pulse Holding Limited (N/A); Vice Food LLC
      (1693); Vice Holding Inc. (2658); Vice International Holding, Inc. (5669); Vice Music Publishing LLC
      (3022); Vice Payroll LLC (6626); Vice Productions LLC (5399); Vice Project Services LLC (6473); Virtue
      Worldwide, LLC (7212); Visur LLC (9336); and VTV Productions LLC (6854). The location of the
      Debtors’ service address for purposes of these chapter 11 cases is: c/o Alix Partners, 909 Third Avenue,
      30th Floor, New York, New York 10022.
2
      Capitalized terms not defined herein have the meanings ascribed to such terms in the Motion.
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Chapter 11 Cases; (b) my review of relevant documents; (c) information provided to

me by employees of the Debtors and/or AlixPartners working under my supervision;

(d) information provided to me by, or discussions with, other members of the Debtors’

management team, other employees, or the Debtors’ other advisors; and/or (e) my

general experience and knowledge. If called upon to testify, I can and will testify

competently as to the facts set forth herein.

                                        BACKGROUND

               4.      I have reviewed the Motion and believe that the factual recitations

contained therein, which are incorporated herein, are accurate.

I.     The Plan

               5.      On December 15, 2023, the Debtors filed the Plan [Docket No. 664].

               6.      The Plan is based on the terms of the Initial Committee Settlement that is

incorporated into the Final DIP Order [Docket No. 138], entered on June 13, 2023.

               7.      Pursuant to the Initial Committee Settlement and as provided for in the

Committee Stipulation, the Plan is a liquidating plan that, among other things, provides for the

establishment of a cash reserve to be distributed to the Debtors general unsecured creditors and

for the post-confirmation estates to be administered by a plan administrator. To facilitate

confirmation, the Plan also provides for an agreed-upon and voluntary reduction in fees by the

Debtors’ retained professionals.

               8.      I believe that the feasibility of the Plan is contingent on the Stipulations,

which, as discussed in more detail in the Motion and below, settle disputes that otherwise

would require costly, uncertain and protracted litigation (which the estates cannot afford) and

return value to the Debtors’ estates.




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II.    The Stipulations

               9.      I believe that the Debtors have taken considerable efforts to

negotiate the Stipulations with the Settling Parties.

       A.      The Antenna Stipulation

               10.     The Antenna Stipulation arises out of the series of agreements

between the Debtors and the Antenna Entities entered into prior to the Petition Date

concerning the access to and distribution of the Debtors’ and it non-debtor affiliates

award-winning content in Greece, Romania and Serbia, Hungary, Bulgaria, Czech

Republic, Slovakia, Slovenia, Croatia, Poland, Albania, North Macedonia (FYROM),

Bosnia, Cyprus, Montenegro, the Commonwealth of Independent States (CIS)

(comprising Armenia, Azerbaijan, Belarus, Georgia, Kazakhstan, Kyrgyzstan, Moldova,

Russia, Tajikistan, Turkmenistan, Ukraine and Uzbekistan), Estonia, Latvia and

Lithuania through the Joint Venture, with Debtor Vice Europe Holding Limited owning

a 51% interest in this joint venture (the “Joint Venture”) and Antenna Internet Ventures

B.V. ("Antenna B.V.") owning a 49% interest in this Joint Venture.

               11.     In connection with the Sale, the Buyer and/or its designees

acquired certain assets of the Debtors, including interests of the Debtors in certain non-

debtor affiliates, which may be interested parties to claims and interests in connection

with, or arising under, the contracts annexed to the Antenna Stipulation as Exhibit A

and/or the Joint Venture.

               12.     The Debtors, in their business judgment, determined that their

interest in the Joint Venture could be monetized for the benefit of the estates.

               13.     Following good faith negotiations among the Antenna Stipulation

Parties and their respective counsel, and in order to avoid the cost and uncertainty of

investigating and litigating the issues related to potential claims, including potential


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intercompany claims arising from the termination of the Antenna Contracts, the wind

down of the Joint Venture, and/or related claims in connection with the Sale and the

TSA, the Antenna Stipulation Parties have agreed to resolve such matters on the terms

set forth in the Antenna Stipulation. The material terms of the Antenna Stipulation are:3

         i.     Upon entry of an order substantially in the form of the Proposed Order
                (the “Antenna Stipulation Effective Date”), the Antenna Contracts, annexed to
                the Antenna Stipulation as Exhibit A, will be deemed rejected and terminated as
                of July 31, 2023. The Antenna Entities and the Joint Venture will retain their right
                to assert general unsecured claims against the Debtors in connection with the
                rejection of the Antenna Contracts within thirty (30) days after the Antenna
                Stipulation Effective Date.

        ii.     Within fifteen (15) business days of the Antenna Stipulation Effective Date,
                Debtor Vice Europe Holding Limited shall convey all of its right, title, and
                interest in the 51% interest in Antenna BV to the Antenna Entities (the “JV
                Interest Sale”) and in exchange the Antenna Entities shall pay Vice Europe
                Holding Limited or its designee €937,875 (the "Antenna Payment").

       iii.     The Antenna Entities and the Joint Venture will assume responsibility for the
                continuation or wind down of the affairs of the Joint Venture.

       iv.      The Debtors will complete the transfer of any foreign equity interests of the
                Debtors and the non-debtor affiliates of the Debtors as contemplated by the Sale
                and the Purchase Agreement, and take all such steps as reasonably necessary to
                accomplish the same (including the appointment of directors or managers to
                implement such corporate action), and complete the corporate name changes as
                required by the Purchase Agreement.

        v.      Subject to the Debtors' receipt of the Antenna Payment, on the Antenna
                Stipulation Effective Date, the Antenna Stipulation Parties will exchange mutual
                releases; provided, however, that such release shall not affect the obligations of the
                parties under the Antenna Stipulation.

        B.      The Committee Stipulation

                14.     On September 28, 2023, the Committee filed the Committee Motion

[Docket No. 507]. Among other things, the Committee Motion sought to deny the

release of funds from a fee reserve that was set aside pursuant to the Final DIP Order

for the reimbursement of Fortress Credit Corp., on behalf of the ad hoc group of


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    This summary of the material terms of the Antenna Stipulation is provided for the convenience of the
    Court and parties in interest. In the event of any inconsistency between this summary and the terms
    of the Antenna Stipulation, the terms of the Antenna Stipulation shall control.


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prepetition secured lenders and debtor in possession lenders, on account of fees and

expenses of its financial advisor Houlihan Lokey. The Committee Motion also sought

to compel the disgorgement of a postpetition transfer to Fortress Credit Corp. on

account of Houlihan Lokey’s fees.

                 15.      Following good faith negotiations among the Committee

Stipulation Parties and their respective counsel, in connection with the Debtors’

intention to confirm the Plan with the support of the Committee and in order to avoid

the cost and uncertainty of investigating and litigating claims related to the Sale, Final

DIP Order and the Committee Motion, the Committee Stipulation Parties have agreed

to resolve such matters on the terms set forth in the Committee Stipulation. The

material terms of the Committee Stipulation are:4

         i.      Within two (2) business days of entry of an order substantially in the form of the
                 Proposed Order (the “Committee Stipulation Effective Date”) –

                   (a)    the Committee will withdraw the Committee Motion with prejudice;

                   (b)    the Reserved Lender Fee Amount (as defined in the Amendment No. 3 to
                          the Purchase Agreement, dated July 31, 2023 [Docket No. 334] shall be
                          paid to the Buyer pursuant to wire instructions provided by the Buyer to
                          the Debtors prior to the Committee Stipulation Effective Date; and

                   (c)    the Debtors shall pay the Buyer $30,000 on account of its allowed
                          administrative expense claim, allowed pursuant to the terms of the
                          Committee Stipulation and pursuant to section 503 of the Bankruptcy
                          Code in connection with its reasonable legal fees incurred during the
                          resolution of claims in connection with Committee Stipulation.

        ii.      The Initial Committee Settlement, including, among other things, the reserve
                 established for distribution to holders of allowed general unsecured claims, shall
                 be implemented in a Chapter 11 liquidating plan in form and substance
                 agreeable to the Committee Stipulation Parties.




4
    This summary of the material terms of the Committee Stipulation is provided for the convenience of the Court
    and parties in interest. In the event of any inconsistency between this summary and the terms of the Committee
    Stipulation, the terms of the Committee Stipulation shall control.


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                THE STIPULATIONS ARE FAIR AND EQUITABLE AND
                IN THE BEST INTERESTS OF THE DEBTORS’ ESTATES

                16.   I believe that the Stipulations satisfy the standards for approval

under Bankruptcy Rule 9019 because the Stipulations are both fair and equitable and in

the best interests of the Debtors’ estates.

                17.   The Stipulations resolve months of arm’s-length and good faith, yet

hard-fought, post-Sale Closing negotiations among the Settling Parties concerning the

claims and disputed issues underlying the Stipulations. The period between the Sale

Closing and the filing of this Motion demonstrates the complexity of the issues that the

Stipulations will consensually resolve and the potential for protracted litigation that

will be avoided. Given the liquidity position of the Debtors’ estates, time is of the

essence to confirm the Plan and any delays or costs associated with the potential

litigation described herein, the results of which are uncertain given the variety of

disputed factual and legal issues, would be significantly detrimental to the Debtors’

stakeholders.

                18.   Moreover, the paramount interests of the Debtors’ creditors are

served by the terms of the Stipulations. Specifically, the Stipulations pave the way for

confirmation of the Plan, which will implement the Initial Committee Settlement to

establish a reserve of funds to be distributed to the Debtors’ general unsecured

creditors. In addition, the Antenna Payment will bring additional funds into the estates

for the benefit of the Debtors’ general unsecured creditors. Absent the Initial

Committee Settlement contemplated by the Plan, conversion to Chapter 7 would have

been unavoidable, which would have destroyed the value otherwise protected under

the Plan and reduced general unsecured creditor recoveries.




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               19.    The Stipulations will also allow the Debtors to fulfill any

outstanding obligations under the Purchase Agreement by effecting the transfer of their

foreign equity interests, as well as complete the corporate name changes, which will

eliminate claims under the Purchase Agreement from the Buyer Entities.

               20.    Finally, I believe that the Stipulations are the result of, and are

supported by, experienced and competent counsel for each of the Settling Parties.

               21.    The Debtors considered the foregoing in their business judgment

when determining to enter into the Stipulations. Based on these considerations, the

Debtors respectfully submit that the Stipulations are fair, equitable, in the best interests

of the Debtors’ estates, and well above the lowest point in the range of reasonable

potential outcomes.

      THE SALE OF THE JOINT VENTURE INTERESTS FREE AND CLEAR
     OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS IS JUSTIFIED

               22.    The Antenna Stipulation contemplates the sale of interests that

constitutes the JV Interest Sale be authorized free and clear any and all liens, claims,

interests, and other encumbrances.

               23.    I believe that the Debtors will be able to satisfy one or more of the

conditions set forth in section 363(f) of the Bankruptcy Code. Specifically, the Buyer

Entities, as the lender parties holding security interests in the Joint Venture have

consented to the JV Interest Sale. In addition, none of the other Settling Parties have

expressed any objection to the Antenna Stipulation despite the opportunity to do so

prior to the filing of this Motion.



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               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

Declaration is true and correct.

Dated: January 30, 2024
       New York, New York
                                          By:    _/s/ Frank A. Pometti______________

                                                 Name: Frank A. Pometti
                                                 Title: Chief Restructuring Officer




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